Case 7:16-cv-00293 Document 1-1 Filed in TXSD on 06/02/16 Page 1 of 22

EXHIBIT “A-l”

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 2 of 22

. - E|ectronica||y Submitted
Accepted by. Valerle Ortega 5/2/2016 3:53:14 PM

Hida|go County C|erks Office

CAUSE NO_ CL-16-2038-D
SAUL CHAVEZ § IN THE COUNTY COURT
§
§
VS. § COUNTY COURT
§
§
STATE FARM LLOYDS § HlDALGO COUNTY, TEXAS

PLA TIFF’ RIGI AL PETITI
TO THE HONORABLE JUDGE OF SAlD COURT:
SAUL CHAVEZ, Plaintiff herein, files this Original Petition against Defendant, STATE

FARM LLOYDS, and, in support of his causes of action, would respectfully show the Coult the

following:

I.
THE PARTIE§

l. Plaintiff resides and/or owns the property made the basis of this suit in HIDALGO
County, Texas. Said property is located at: 1308 Lantana Ln., Weslaco, Texas 78599.
2. STATE FARM LLOYDS is an insurance company doing business in the State of
Texas Which may be served through its registered agent for service of process: Corporation
Service Company, 211 E. 7th St., Suite 620, Austin, Texas 78701-3218. Service by certified

mail, return receipt requested is requested at this time.

II. I 0 RY

3. This case is intended to be governed by Discovery Level 3.

Wr\( l "l 'llll§

\ulm, Da\€'- rk do
\\"\:;\`W..CO¢;/,?/,("' \ Arturo Gualafd°‘ `".' C.Oumy C\end
:`" 93 """""" 62 hereby certify that this \s a true amant

* *=E correct copy Oi the ma` dow
: : ‘/>: c . `
'%&. _.~§l§`= t\\ed m m ‘ .
"»,"”/ .............. ~"?$ B'~ »~
r,/}'OF H`DB\'(,?`"" .
'Ilnl\\\\“

      
 

`
¢

/,’l

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 3 of 22

. - E|ectronical| Submitted
Accepted by. Valene Ortega 5/2/20163'3:53:14 pM
Hidalgo County Clerks Office
CL-16-2038-D
III.

§§LAIM FOR RELIEF

4. The damages sought are Within the jurisdictional limits of this court. Plaintiff seeks
actual damages from STATE FARM LLOYDS. The total damages sought by Plaintiff against
Defendants for all elements of damage does not exceed the sum of $74,999, including exemplary and
punitive damages, penalties, and attorneys’ fees, but exclusive of interest and costs. Plaintiff Will not
seek or accept any damages, recover or award that may be rendered in the above-captioned matter in
excessive of $74,999.00. Further, Plaintiff herein hereby renounces any judgment in excessive of

374,999, exclusive of interest and costs Which might be rendered in his favor. See attached Stipulation

of Damages.
IV. =![JB!§DI§§TIO§ A§D
..VME
5. This court has subject matter jurisdiction of this cause of action because it

involves an amount in controversy in excess of the minimum jurisdictional limits of this Court. No
diversity of citizenship exists in this matter.
6. Venue is proper in HIDALGO County under Tex. Civ. Prac. & Rem. Code
§15.002(a)(l) because all or a substantial part of the events or omissions giving rise to the claim
occurred in said County. ln particular, the loss at issue occurred in this County.

V

      
   

FACTUAL BA.CKGROU§ ll
7. Plaintiff is a named insured under a property insurance policy issued by Defendant,
STATE FARM LLOYDS.
mm l "l lois
2 §\`g`§;\`*`l"mc'éi/l/;',f"»,& i),:i;bro Gu_al?'d.°~ ii Ci:;rm;;\;:: do
§`_: \ :; hereby cen\lvm 5 5 a\ document
.............. '

Depufy Cl€rl(

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 4 of 22

_ . E\ t ' n s b rt d
Accepted by. Va|erle Ortega e§/;zg&ae>é_ 5*:13_ 1"¢‘_' PeM
Hida|go County C|erks OtHce
CL-16-2038-D
8. On or about OCTOBER 24, 2015, a storm hit the HIDALGO County area,

damaging Plaintiffs house and other property. Plaintiff subsequently filed a claim on his
insurance policy.

9. Defendant improperly denied and/or underpaid the claim.

lO. The named Defendant and its adjusters assigned on the claim, conducted a
substandard investigation and inspection of the property, prepared a report that failed to include
all of the damages that were noted during the inspection, and undervalued the damages observed
during the inspection.

ll. The named Defendant and its adjusters’ unreasonable investigation led to the

underpayment and/or no payment of Plaintiffs claim.

12. Moreover, STATE FARM LLOYDS and its adjusters performed an outcome-
oriented investigation of Plaintiffs claim, Which resulted in a biased, unfair and inequitable
evaluation of Plaintiff’S losses on the property.

VI.
§§AU§E§ OF A§ §TIQ!§

13. Each of the foregoing paragraphs is incorporated by reference in the following:
A. Breach of Contract (STATE FARM LLOYDS)

l4. STATE FARM LLOYDS had a contract of insurance with Plaintiff. STATE FARM
LLOYDS breached the terms of that contract by wrongfully denying and/or underpaying the claim
and Plaintiff was damaged thereby.
B. Prompt Payment of Claims Statute (STATE FARM LLOYDS)

15. The failure of STATE FARM LLOYDS to pay for the losses and/or to follow the

statutory time guidelines for accepting or denying coverage constitutes a violation of Article

mm Date: MAY 17 2516

`\\\ ‘§“ \r' C_c_¢/_?;/ /, l wirer Gua]ardo. Jr County Clerk do

542.051 et seq. of the Texas Insurance Code.

  

3 $" " /"», hereby certify thatth`\s is rue and
§*§ §§ =*§ go orrect copy ot th l document
: 0 `~. w : .
»._o%.__ §= ned m my Off‘

 

'/" OFHmr~‘»Q°O\\"` w ” /Depu'<\/Ci€fk

Accepted by: Va|erle Ortega

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 5 of 22

Electronica||y Submitted
5/2/2016 3:53:14 PI\/l

Hidalgo County C|erks Office

CL-16-2038-D
16. Plaintiff, therefore, in addition to Plaintiff’s claim for damages is entitled to 18%

interest and attorneys’ fees as set forth in Article 542.060 of the Texas Insurance Code.

C. Bad Faith/DTPA (STATE FARM LLOYDS)
l7. Defendant is required to comply with Chapter 541 of the Texas Insurance
Code.
18. Defendant violated § 541.051 of the Texas Insurance Code by:
(l) making statements misrepresenting the terms and/or benefits of the policy.
19. Defendant violated § 541.060 by:

(l) misrepresenting to Plaintiff a material fact or policy provision relating to
coverage at issue;

(2) failing to attempt in good faith to effectuate a prompt, fair, and equitable
settlement of a claim with respect to which the insurer’s liability had become reasonably clear;

(3) failing to promptly provide to Plaintiff a reasonable explanation of the
basis in the policy, in relation to the facts or applicable law, for the insurer’s denial of a claim or
offer of a compromise settlement of a claim;

(4) failing within a reasonable time to affirm or deny coverage of a claim to
Plaintiff or submit a reservation of rights to Plaintiff; and

(5) refusing to pay the claim without conducting a reasonable investigation
with respect to the claim;

20. Defendants violated § 541.061 by:

(l) making an untrue statement of material fact;

(2) failing to state a material fact necessary to make other statements made not
misleading considering the circumstances under which the statements were made;

…\\\\\rl¢r,,,

D______"1\)\/>`\( 1 7 2015

4 ~" §§\\*§.Y--?.(.’.U@'»"’r, l. Ar!ure G\u@la'd° dr County C`e

i»

  
 

"\\\\\rrr¢,,l/

\:§\()O

 

"" hereby certle that mla le at
= q correctcepy otth
W>=* §r`lleu\.nmy tt.',y

MFFX`\\ §§%?`E

 

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 6 of 22

. - E|ectronica|| Submitted
Accepted by. Va|erle Ortega 5/2/2016¥5:53:14 PM
Hidalgo County Clerks Oft”ice
CL-16-2038-D
(3) making a statement in a manner that would mislead a reasonably prudent

person to a false conclusion of a material fact;

(4) making a material misstatement of law; and

(5) failing to disclose a matter required by law to be disclosed.

21. At all material times hereto, Plaintiff was a consumer who purchased insurance
products and services from Defendant.

22. Defendant has violated the Texas Deceptive Trade Practices Act in the
following respects:

(l) Defendant represented that the agreement confers or involves ri ghts, remedies,
or obligations which it does not have, or involve, or which are prohibited by law;

(2) Defendant failed to disclose information concerning goods or services
Which was known at the time of the transaction When such failure to disclose such information was
intended to induce the consumer into a transaction that the consumer would not have entered into
had the information been disclosed;

(3) Defendant, by accepting insurance premiums but refusing without a
reasonable basis to pay benefits due and owing, engaged in an unconscionable action or course
of action as prohibited by the D'I`PA § 17.50(a)(l)(3) in that this Defendant took advantage of
Plaintiff’s lack of knowledge, ability, experience, and capacity to a grossly unfair degree, that
also resulted in a gross disparity between the consideration paid in the transaction and the value
received, in violation of Chapter 541 of the Insurance Code.

23. Defendant knowingly committed the acts complained of. As such, Plaintiff is
entitled to exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code §

541.152(3)-@>).

 

iii\i 1 'i viii
§§\\\""iu_,,; Date

----------- i Amiro Guaiardo Jr County Cierk do

=_ hereby certiiy that ihie is a true and
)j§ "" "CO¥'{§C! (;Dpy Oi` ihe./ :" c cument
iii § iiiaci iii my oii‘/ "

I,'

 
  
  

lm,
\““‘ "l
`::<\°EI...

   

al /):OF H\B!\\;`\ \\"€`

"lliii iii

Case 7:16-cv-00293 Document 1-1 Filed in TXSD on 06/02/16 Page 7 of 22

. - E|ectronical|y Submitted
Accepted by. Va|erle Ortega 5/2/2016 3:53:.|4 PM

Hida|go County Clerks Offlce
CL-16-2038-D
D. Attorneys’ Fees
24. Plaintiff engaged the undersigned attorneys to prosecute this lawsuit against
Defendant and agreed to pay reasonable attorneys’ fees and expenses through trial and any appeal.
25. Plaintiff is entitled to reasonable and necessary attorney’s fees pursuant to TEX.
CIV. PRAC. & REM. CODE §§ 38.001-38.003 because Plaintiff is represented by an attorney,
presented the claim to Defendant, and Defendant did not tender the just amount owed before the
expiration of the ?>()‘h day after the claim was presented

26. Plaintiff further prays that he be awarded all reasonable attorneys’ fees incurred

in prosecuting his causes of action through trial and any appeal pursuant to Sections 541.152

of the Texas Insurance Code.

VII. CONDITIONS
PRE§ ;EDE 13 T

27. All conditions precedent to Plaintiff’s right to recover have been fully performed,

or have been waived by Defendants.

VIII. DEMAI§!! FQR ,!HBY

28. Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiff herein requests

a jury trial and along with the filing of the Original Petition has tendered to the Clerk of the Court

the statutory jury fee.

VIII. DI§§ §§ 2 Y ERY RE§ !HE§T§

28. Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after
service of this request, the information or material described in Rule l94.2(a)-(l).
29. You are also requested to respond to the attached interrogatories, requests for

production and requests for admissions within fifty (50) days, in accordance with the in§i\l\,\¥tibnj mm

6 \\\\"""'u, Date: 7
";`,°\\§~K~i'~€(»).”/?/)/"', |, Arturo Guajardo. Jr. County Clerk do

\`

"" 3 erebv certifytt\atthisl atrue and
= ~‘ \. a ' ./

§*§ _§;§ orrec!c of’.h A\document
:'%¢"" .-"(§"~" filed in m

"'V " " Bv'

z ............. .- t \ .
"/, OF Him\\@°\\"` /` / Depuw C\€"<

/ \
"lll»l\\\“

03

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 8 of 22

. - E|ectronica||y Submitted
Accepted by. Va|erle Ortega 5/2/2016 3:53:14 pM

Hida|go County C|erks Office
CL-16-2038-D

stated therein.

IX.
PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff herein prays that, upon final hearing
of the case, he recover all damages from and against Defendant that may reasonably be established
by a preponderance of the evidence, and that Plaintiff be awarded attorneys’ fees through trial and
appeal, costs of court, pre-judgment interest, post-judgment interest, and such other and further
relief, general or special, at law or in equity, to which Plaintiff may show himself to be justly

entitled.

Respectfully submitted,

WHYTE PLLC

1045 Cheever Blvd., Suite 103
San Antonio, Texas 78217
Telephone: (210) 562-2888
Telecopier: (210) 562-2873
Email: mwhyte@Whytepllc.com
Email: jsaenz@whytepllc.com

M 74 W@

MARC K. WHYTE /
stare Bar NO. 2405 6526

 

ATTORNEY FOR PLAINTIFF
\\\“"""l/, Date; MAY 1 7 2016_
7 `\®““Y CO'“P:F"/ 1, Anuro Guajardo. Jr. County olerk do

ll z l
5 °». hereby certify that is ls true and
§*:` § j ,*§ correct copy na\ document
'°O ' §§ filed in ` .
Q¢,'. f¢,".§

/)»~ l
'// OF Hioz\\<’% \"

   
   

 
 

 

' Deputy Clerk

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 9 of 22

. - E|ectronica|ly Submitted
Accepted by. Va|erle Ortega 5/2/2016 3:53:14 PM

Hida|go County C|erks Office
CL-16-2038-D

PLAINTIFFS’ FIRST SET OF INTERROGATORIES,
MESIS_HIKRR!MANRBE§NESIS_EQR.AD.MM

COMES NOW Plaintiff(s) in the above-styled and numbered cause, and requests that
Defendant(s) (1) answer the following Interrogatories separately and fully in writing under oath
Within 50 days of service; (2) answer the Requests for Production separately and fully in Writing
Within 50 days of service; (3) answer the Requests for Admissions separately and fully in writing
within 50 days of service; (4) serve your answers to these Interrogatories, Requests for Production,
and Requests for Admissions on Plaintiff by and through his/her attorneys of record, Marc K.
Whyte, WHYTE PLLC, 1045 Cheever Blvd., Suite 103, San Antonio, Texas 78217; and (5)
produce all documents responsive to the Requests for Production as they are kept in the usual
course of business or organized and labeled to correspond to the categories in the requests within
50 days of service to WHYTE PLLC. You are also advised that you are under a duty to seasonably
amend your responses if you obtain information on the basis of which:

a. You know the response made was incorrect or incomplete when made; or

b. You know the response, though correct and complete when made, is no longer

true and complete, and the circumstances are Such that a failure to amend the answer

in substance is misleading
DEFI TI A I TRU TI

A. These Responses call for your personal and present knowledge, as Well as the present
knowledge of your attorneys, investigators and other agents, and for information
available to you and to them.

B. If you cannot answer a particular Interrogatory in full after exercising due diligence to
secure the information to do so, please state so and answer to the extent possible,
specifying and explaining your inability to answer the remainder and stating whatever
information or knowledge you have concerning the unanswered portion.

C. lf you claim that any document Which is required to be identified or produced by you
in any response is privileged:
1. ldentify the document s title and general subj ect\`r§}a;t‘terl; Date;
§§Q\§\,§.‘.Y.:.€{§a,i'¢ i.Anu
§ hereby cent
C

,(§ §§ orrectco
0 '- .-'.
./,V.

illEZ{i iii iii
/`,:'°'~.. 0
\\

',, OF Hsor\`»@ \"
"/lall\\\\\\

F_ \\

ro Gua§ardo. Jr, County Cterk do

tythatth`\si a rue and
the ldocumenr

\ \"`

8

     
 
     

\\\\l|llllll,

\`~‘
,/`@ms )+
"/lmm\

\
`\
’/

D pu{y Cl€fi(

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 10 of 22

Accepted by: Va|erie Ortega

E|ectronica|ly Submitted
5/2/2016 3:53:14 PM
Hida|go County C|erKs Office

CL-16-2038-D

2. State its date;
3. Identify all persons who participated in its preparation;
4. Identify the persons for Whom it Was prepared or to whom it was sent;
5. State the nature of the privilege claimed; and
6. State in detail each and every fact upon which you base your claim for
privilege.
D. “Documents,” includes any written, recorded or graphic matter, however produced or

reproduced, of every kind regardless of where located including, but not limited to, medical
records, tax returns, earnings statements, any summary, schedule, memorandum, note,
statement, letter, telegraph, interoffice communication, report, diary, ledger, journal, log,

desk or

pocket calendar or notebook, day book, appointment book, pamphlet,

periodical, Worksheet, cost sheet, list, graph, chart, telephone or oral conversation, study,

analysis,

transcript, minutes, accounting records, data sheet, tally or similar freight

documents, computer printout, electronic mail, computer disk, and all other memorials of
any conversations, meetings and conferences, by telephone or otherwise, and any other
writing or recording Which is in your possession, custody or control or in the possession,
custody or control of any director, officer, employee, servant or agent of yours or your
attorneys. The term “documents” shall also include the files in which said documents are
maintained Electronieally stored information should be produced in PDF format.

E. “You,” “Your,” “Yours”, “Defendants” and “Defendant” means all Defendants in this case.

F. In each instance where you are asked to identify or to state the identity of a person, or Where
the answer to an Interrogatory refers to a person, state with respect to each such person:

1. His or her name;
2. His or her last known business and residence address and telephone
number; and
3. His or her business affiliation or employment at the date of the
transaction, event or matter referred to.
G. If you decide that one question is not simply one question and plan to object based upon

more than 25 interrogatories, you are instructed to skip that question and continue to
answer what you consider to be only one question, by answering only the first 25 alleged
single questions. By answering any one numbered question, you are hereby admitting that
one number question is in fact one question and Waive any objection based upon a limit of
interrogatories

H. “Plaintiffs” and “Plaintiff’” includes all Plaintiffs, and refers to a single Plaintiff or
multiple Plaintiffs, if applicable

 

   

I. “Property” means the property at issue in the lawsuit.
J. “Lawsuit” means this lawsuit.
_. 6 § t
l’\A¥ l 7 1016
\\\mm, Date: _
9 `\"§`\\"".‘ 401/z 'o \ Arruro Gua§ardor J.ri Couan Cl@"‘ do
s '.'... .__' I,' .. ` _ d
: \ zngreby candy that this is atrue an
` . t . .
= -' t § j t \ ' - idocument
tr iii ltttrwrr » f
-,¢;;\ j.t,.(.,~:- maxim m O»
a >-.., twa \. / _
’r ‘ ‘ § ' ':’

    
 

s mr

  

;Oi protocin
%'"'m'e`m\\"`

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 11 of 22

. - E|ectronica|ly Submitted
Accepted by. Va|erle Ortega 5/2/2016 3:53:14 PM
Hida|go County C|erks Offlce

CL-16-2038-D
I TERROGATORIES TO DEFENDA T

1. Identify the name, address, and role in the claim made the basis of this Lawsuit, if any,
for all persons providing information for the answers these interrogatories

ANSWER:

2. Identify all persons and/or entities who handled the claim made the basis of the Lawsuit
on behalf of Defendant.
ANSWER:

3. Does Defendant contend that Plaintiff(s) failed to provide proper notice of the claim

made the basis of this Lawsuit under either the policy or the Texas Insurance Code, and,
if so, describe how the notice was deficient, and identify any resulting prejudice caused to
Defendant.

ANSWER:

4. Does Defendant claim that Plaintiff(s) failed to mitigate his or her damages? If so,
describe how Plaintiff failed to do so, identifying any resulting prejudice caused to
Defendant.

AN S WER:

5. Does Defendant contend that Plaintiff(s) failed to provide Defendant with requested
documents and/or information? lf So, identify all requests to which Plaintiff(s) did not
respond and state whether you denied any portion of the claim based on Plaintiff’s(s’)
failure to respond.

ANSWER:

6. At the time the claim made the basis of this Lawsuit Was investigated and the Property
inspected (and prior to anticipation of litigation), describe all damage attributable to the
storm observed at the Property by Defendant or any persons or entities on behalf of
Defendant.

ANSWER:
7. Identify all exclusions under the Policy applied to the claim made the basis of this
Lawsuit, and for each exclusion identified, state the reason(s) that Defendant relied upon to

apply that exclusion.

ANSWER:

 

   

'MA¥ 1 7 2016
\\\‘1"‘1")/,, Date:

0 l ,, l, Arturo Guajardo. Jr, County C\erk do

10 ue and

 

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 12 of 22

Accepted by: Va|erie Ortega E|ectronica||y Submitted

10.

11.

12.

13.

14.

15.

5/2/2016 3:53:14 PNl
Hida|go County Clerks Offlce

CL-16-2038-D

Describe how Defendant determined whether overhead and profit (“O&P”) should be
applied to the claim made the basis of this Lawsuit, identifying the criteria for that
determination.

ANSWER:

Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
depreciation, stating for each item the criteria used and the age of the item.

ANSWER:

To the extent Defendant utilized an estimating software program and modified the
manufacturer’s settings With respect to Plaintiffs’ claim, identify those modifications

ANSWER:

State whether Defendant applied depreciation to the tear off of the damaged roof and/or
other debris removal in the claim made the basis of this Lawsuit, identifying the basis for
that depreciation and the applicable policy section under which the tear off was paid
under.

ANSWER:

Identify all price lists used to prepare all estimates on the claim made the basis of this
Lawsuit, stating the manufacturer, version, date and geographical area.

ANSWER:

To extent Defendant is aware, state whether the estimate(s) prepared for the claim made
the basis of lawsuit wrongly included or excluded any item or payment If so, identify
each item or payment and state Whether it should have been included or excluded from
the estimates prepared on the claim made the basis this Lawsuit.

ANSWER:

To the extent Defendant is aware, state any violations of Texas Insurance Code Section
541 that were discovered on this claim during the claims handling process.

ANSWER:

To the extent Defendant is aware, state any violations of Texas Insurance Code Section
542 that were discovered on this claim during the claims handling process.

ANSWER:

\`\\\\“""I)/, Date; MAY 1 7 2016

/ l -
~"`QQY\W CO“'”)'"/,, \. Anuro Gua;ardo. Jr. County C|erk do

...........
’\

11 _~`" "'t ~; hereby certify that this is a true and
§;§ §§ _'§;§ccrrect c the ‘ al document
Z,O% §§ filed in my

  
 

 

............ . ~ `
OF ~¢oa@°\\"`
/Illll\\\\\“

Deputy C!erk

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 13 of 22

Accepted by: Va|erie Ortega

16.

17.

18.

19.

20.

21.

22.

CL-16-2038-D

To the extent Defendant is aware, state any violations of the requirements or obligations
owed to Plaintiff(s) under the Policy relating the claim made the basis of this Lawsuit that
were discovered during the claims handling process.

ANSWER:
State the date Defendant first anticipated litigation.
ANSWER:

State every basis, in fact and in the terms of Plaintiffs policy, for Defendant’s(s’) denial
or partial denial and/or recommendation of denial or partial denial of Plaintiffs claim(s).

ANSWER:

Identify every other insurance claim (by name, address and telephone no. of the insured)
made for property damage in the same city/town as the house at issue in this case, and
stemming from the same storm, which claim was paid in part or whole. This is limited to
within 5 miles of Plaintiff’s(s’) insured property.

ANSWER:

Identify anyone who recommended payment on Plaintiff’s claim(s), and if so, state what
amount(s).

ANSWER:
Give the name, address and telephone number of all persons making a claim with you for

property damage for the same OCTGBER 24, 2015 as Plaintiff’s claim. This request is
limited to persons who live within a 5 mile radius of Plaintiff’ s insured residence

ANSWER:
List all of your approved or preferred engineers, third party adjusters/adjusting
companies, roofers and contractors, for windstorm claims in Texas from one year prior to

the OCTOBER 24, 2015 at issue to date.

ANSWER:

‘.VEAY l 7 2016

”§/'c l Arturo Guala do Jr County C\erk do

Q\\\\\'"ll/,,, Date`
12 "\\ .............

  

:` vii nere‘ov C@"lYY man ' ama and
§*;' §§? §C gina\ document
: (?'.

z 0 , .

/'/ CF H!DR\S°O \\\ l ¢/ [/ Deputy C|E\'k
"'lm'u\\\‘

E|ectronica||y Submitted
5/2/2016 3:53:14 PlVI
Hida|go County C|erks Offlce

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 14 of 22

. - Electroniea||y Submitted
Accepted by. Va|erle Ortega 5/2/2016 3:53:14 PM

Hida|go County C|erks Office
CL-16-2038-D

REQUE§TS FOR PRODUCTION TO DEFENDANT

1. The following insurance documents issued for the Property as identified in the Petition:
a. the policy at issue for the OCTOBER 24, 2015 as identified in the
Petition; and b. the policy declarations page for the 3 years preceding the
storm.

RESPONSE:

2. Produce underwriting files and documents relating to the underwriting for all insurance
policies for the Property at issue. This request is limited to the past 5 years. To the extent
Defendant contends that the underwriting file or documents older than 5 years impact the
damages or coverage, produce that underwriting file or document.

RESPONSE:

3. All documents relating to the condition or damages of the Property or any insurance
claim on the Property.
RESPONSE:

4. All documents relating to any real property insurance claims made by the Plaintiff(s).

This request is limited to the past 5 years. To the extent Defendant contends that
documents older than 5 years impact the damages or coverage, produce that document.

RESPONSE:

5. All requests for information to any third party about the Property, the Plaintiff(s), or the
claims made the basis of this Lawsuit.

RESPONSE:

6. All documents used to instruct, advise, guide, inform, educate, or assist provided to any
person handling the claim made the basis of this Lawsuit that related to the adjustment of
this type of claim, i.e., hail property damage.

RESPONSE:

7. All documents obtained from any person(s) or entity(ies) and governmental agencies on
behalf of Defendant or by Defendant relating to the Plaintiff(s), the Property, the Policy,
or the claims made the basis of this Lawsuit. This request includes all documents
obtained by way of deposition on written questions.

RESPONSE:

lVlAY l 7 2013
W\\\\""*l/, [)a fEJ

13 ~`"` §§°"iv 'COU’;::", l. Ar!uro Gua§ ardo Jr County Clerk do
" hamm carlin/mmi 1 .. rue ana
i§g ,* dr ' » 4 "": document
§Fotrb@leQQ`M/A , §
g¢,*»=r ii\ai] m m _ , 1 v

/,ll |O’OE";M G%R€

"I/vli\ \\\“

 

I/,ll

  
    
 

\\\\ll|ll,

o'> *__

`\\\\
`;>:%;<»\

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 15 of 22

Accepted by: Va|erie Ortega Ele§;'z‘;gg%aé'>é§‘§l?m“§§
Hida|go county clérks`. office
CL-16-2038-D
8. All documents received (prior to litigation) directly or indirectly from Plaintiff(s) or

created by Plaintiff(s) related to the Property made the basis of this lawsuit. This request
is limited to the past 5 years. To the extent Defendant contends that any document older
than 5 years impact the damages or coverage, produce that document.

RESPONSE:

9. Produce a copy of all price lists used to prepare any estimates for the claim made the
basis of this Lawsuit. To the extent the pricelist is an unmodified pricelist from a third party,
you can reference the vendor and version of the pricelist With a stipulation that it is
unmodified.

RESPONSE:

10. To the extent Defendant created or altered any prices used in the preparation of an
estimate in the claim made the basis of this Lawsuit, produce all documents related to the
creation or alteration of the price, including the original price for that item and the factual
bases for the creation or alteration.

RESPONSE:

ll. A complete copy the personnel file related to performance (excluding medical and
retirement information) for all people and their managers and/or supervisors who directly
handled the claim made the basis of this Lawsuit, including all documents relating to
applications for employment, former and current resumes, last known address, job title, job
descriptions, reviews, evaluations, and all drafts or versions of requested documents. This
request is limited to the past 5 years.

RESPONSE:

12. All organizational charts, diagrams, lists, an/or documents reflecting each department,
division or section of Defendant’s company to which the claim made the basis of this
Lawsuit was assigned.

RESPONSE:

13. All Texas insurance licenses and/or certifications in effect at the time of the claims
arising out of the storms at issue for all persons who worked on the claim made the basis
of this Lawsuit, including any document relating to the application, issuance or review of
those licenses and/or certifications. This request excludes those who performed merely
ministerial acts, i.e. people who answer phones, file clerks whose only job duty is to
stamp “received,” etc.

RESPONSE:

MAY l 7 2016
\\`\\\\\nlu,,,, Da tie

;@Y;'Y"--(~).””/!"' l Am:ro Guai arco !r. County C\erk do
. h ereoy sanity that 'h` is true and
onset copv cit '

14

\\‘:;\"`

 
    
 
 

.C:J-

  
 

\`\\\\\|Illl

\

\\Or“` * /O'l/,,'
.' "._C‘

Oz.'"\, .-
,""~.._»¢*"'
iii 19

"/ rum'-""

’l/,, \\

 

 

'/,, OF H oi<» “\\\" ' / gequ cierk

…"Hmu\\‘

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 16 of 22

. - E|ectronica|ly Submitted
Accepted by. Va|erle Ortega 5/2/2016 3:53:14 PM

Hida|go County C|erks Offlce
CL-16-2038-D

14. If an engineer and/or engineering firm evaluated the Property, produce all reports written
at the request of Defendant by that engineer or engineering firm within the last 5 years.
This request is limited to the extent that the engineer and/or engineering firm Was used
during claims handling.

RESPONSE:

15. Produce all documents showing amounts billed and paid to any engineer and/or
engineering firm identified in response to Request for Production above within the last three
years. A summary is acceptable in lieu of actual invoices or payments

RESPONSE:

16. All documents reflecting the pre-anticipation of litigation reserve(s) set on the claim
made the basis of this Lawsuit, including any changes to the reserve(s) along with any
supporting documentation

RESPONSE:

l7. All documents relating to issues of honesty, criminal actions, past criminal record,
criminal conduct, fraud investigation and/or inappropriate behavior which resulted in
disciplinary action by Defendant of any person(s) or entity(ies) who handled the claim
made the basis of this Lawsuit, the Plaintiff(s) or any person assisting on the claim made
the basis of this Lawsuit.

RESPONSE:

18. All documents relating to work performance, claims patterns, claims problems,
commendations, claims trends, claims recognitions, and/or concerns for any person who
handled the claim made the basis of this Lawsuit.

RESPONSE:

19. All XactAnalysis reports that include this claim in any way, this Policy, the amount paid
on this Policy and/or referencing any person who handled the claim made the basis of this
Lawsuit relating to claims arising out of the storm(s) occurring on the date(s) of loss
claimed by Plaintiff(s).

RESPONSE:

20. Any email or document that transmits, discusses, or analyzes any report produced in
response to the Request for Production immediately above.

RESPONSE:

 

MAY 1 7 2016
15 \\\\“""l)/,,l Date:

i Anuro Gua!ardc Jr, County C\erk do
' d '. atrue and

...........
c".' ~,"A

l,lll

`\\\
"%

\\\\\ uu,,
`t\%“ *
`:':..!/' "‘.‘n O,
;Ki 0
~':Q_
3
2
O.
0
0
C
3
(`D
3
...

3"\»:\¢;'-

wit,;*‘;;t\<i?\“ ' “ tr ' *'a§;ay¢i@ik

 

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 17 of 22

Accepted by: Va|erie Ortega

21.

22.

23.

24.

25.

26.

27.

28.

CL-16-2038-D

All Simsol Management reports that include this claim in any way, this Policy, the
amount paid on this Policy and/or referencing any person who handled the claim made
the basis of this Lawsuit relating to claims arising out of the hail storms occurring in the
county of suit on or about the OCTOBER 24, 2015 claimed by Plaintiff(s).

RESPONSE:

Any email or document that transmits, discusses, or analyzes any report produced in
response to the Request for Production immediately above.

RESPONSE:

For any consulting expert whose mental impressions or opinions have been reviewed by a
testifying expert: all documents or tangible things that have been provided to, reviewed
by, or prepared for the testifying expert.

RESPONSE:

Pursuant to Texas Rule of Evidence 609(f), provide all documents evidencing conviction
of a crime which you intend to use as evidence to impeach any party or witness.

RESPONSE:

All indemnity agreements in effect at the time of Plaintiffs’ claim between Defendant and
any person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

RESPONSE:

All contracts in effect at the time of Plaintiffs’ claim between Defendant and any
person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

RESPONSE:

All confidentiality agreements and/or instructions regarding confidentiality in effect at
the time of Plaintiffs’ claim between Defendant and any person(s) and/or entity(ies) who
the claim made the basis of the Lawsuit.

RESPONSE:

All documents between Defendant and any person(s) and/or entity(ies) who handled the
claim made the basis of the Lawsuit regarding document retention policy in effect at the
time of Plaintiffs’ claim.

RESPONSE:

\\\‘“'""n, Date; MAY 1 7 201€3

\\ ‘{ g l
\\";,<§§§ll.l. ----- <,7 goff

l
\

16

  
     

`\\\\\|llll,'l
\\'\\°O *

\

2
"'~ § hereby certlty that th` 1 e and
' ):§ correct copy l ` ocument
:-. __ ,»l£§‘;§ titan tn aj .
f"'--.....-"'Q_"`\ § f `
l O,L` \_<3 \\
///'lll[ill|loli`\\‘ `\

\
\\

7 /Deputy Clerk

E|ectronica|ly Submitted
5/2/2016 3:53:14 P|Vl
Hida|go County C|erks Offlce

l, Artu.ro Gua]ardo. Jr. County C|erk do

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 18 of 22
Accepted by: Va|erie Ortega

29.

30.

E|ectronica||y Submitted
5/2/2016 3:53:14 PM
Hidalgo County Clerks Office

CL-16-2038-D

To the extent the claim involves rescinding of the policy, all documents regarding
Defendant’s standards for investigating and rescinding and/or voiding a policy

RESPONSE:

A Llst of all of your approved or preferred engineers, third party adjusters/adjusting

companies, roofers and contractors, for windstorm claims in Texas from one year prior to
the OCTOBER 24, 2015 at issue to date.

ANSWER:

\“tw'eg~/,, 03 MAY 1 7 2915

l
§§ ------------- (,/f”/‘ I, Anuro Guajardo Jr. Cou

` n Clek

17 § hereby certify that th r ry r do

  
 

 

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 19 of 22

. - E|ectronica||y Submitted
Accepted by. Va|erle Ortega 5/2/2016 3:53:14 PM

Hida|go County C|erks Oflice
CL-16-2038-D

FIRST SET OF REQUESTS FOR ADMISSIONS
TO DEFENDANT

REQ[]§§§T F§ !R ADMI§§IO§ EO, l. Admit you committed statutory bad faith in adjusting
Plaintiff’s claim.
RESPONSE:

RE§!UE§T FOR ADMI§§IQ§ §O, 2. Admit you committed common law bad faith in
adjusting Plaintiff’s claim.

RESPONSE:

RE T F R AD I IO 3. Admit you breached the insurance agreement by failing
to pay the full amount owed there under.

RESPONSE:

RE§ !UE§T F§ !R ADMI§§IO§ EO, 4. Admit you breached the insurance agreement by failing
to pay the full amount owed there under on a timely basis.

RESPONSE:
RE§ !!]_E§§T F§ !R ADMI§§IO§ §Q, §. Admit you breached the Texas Prompt Payment Act by

failing to pay the full amount owed under the policy in a timely fashion.

RESPONSE:

MAY 1 7 ZOlG

\\\llll,,
\\\\\ \Ty /,, Date.
‘\\ "\\Q\“\ ..... c:0..(/ :\’/,¢ ‘

_- ', c v

18
s = hereby certify that thi

   
 

 
 
  
 

=: * . . ..
§§ .-‘J§ ;~.’ Gorrect c ' de and
-' '. ." "K`;' » .
’,.'b"-.. ~,*~` filed in m acumem
. /»O` ........... \ c '
,

/ _1 _
'//,/ HigA\_\s\\`\" By_'

"‘lll|\\\\‘

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 20 of 22

Accepted by: Va|erie Ortega

CL-16-2038-D
PLAINTIFFS’ REOUESTS FOR DISCLOSURE TO DEFENDANT

Pursuant to Texas Rule of Civil Procedure 194, you are hereby requested to disclose, within

fifty (50) days of service of this request, the information or material described in Rule l94.2(a)-(k),

as described below:

(a)
(b)
(C)
(d)
(@)

(f)

(g)
(h)
(i)
(i)

(1<)

the correct names of the parties to the lawsuits;

the name, address, and telephone number of any potential parties;

the legal theories and, in general, the factual basis of Plaintiffs’ claims;

the amount and any method of calculating economic damages;

the name, address and telephone number of persons having knowledge of relevant

facts, and a brief statement of each identified person’s connection with the case;

for any testifying expert:

(l) the expert’s name, address and telephone number;

(2) the subject matter on which the expert Will testify;

(3) the general substance of the expert’s mental impressions and opinions and a
brief summary of the basis of them, or if the expert is not retained by,
employed, or otherwise subject to the control of Plaintiffs, documents
reflecting such information;

(4) if the expert is retained, employed by or otherwise subject to the control of
Plaintiffs:

(A) all documents, tangible things, reports, models, or data compilations
that have been provided to, reviewed by, or prepared by or for the
expert in anticipation of the expert’s testimony;

(B) the expert’s current resume and bibliography;

any indemnity or insuring agreements;

any settlement agreements, described in Rule l92.3(g);

any witness statements, described in Rule l92.3(h);

all medical records and bills that are reasonably related to the injuries or damages

asserted or, in lieu thereof, an authorization permitting the disclosure of such medical

records and bills;

all medical records and bills obtained by the responding party by the responding party

by virtue of an authorization furnished by the requesting party.

I.

In accordance with Texas Rule of Civil Procedure 194.3, please serve written responses

within fifty (50) days after service of this request.

\\\\\l|ll/,

19

.........
,,,,,,
. s

.0/`"", i. AHUYO Gua

l

    
 
 

\\\l¢ll
\\"` '/l
`\\\`$\O‘J !\

7a

E|ectronica|ly Submitted
5/2/2016 3:53:14 P|\/|
Hida|go County C|erks Offree

Dae- MAY 1 '7 2016

\_ 1 jardo. Jr, County Clerk d
.- \*':Z hereby ce.'i!fy ': n‘ atrueand 0
§ j;,;georree;!cc _ * __ ina,documem

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 21 of 22

. - E|ectronica||y Submitted
Accepted by. Va|erle Ortega 5/2/2016 3:53:14 PM
Hida|go County Clerks Oft"lce

CL-16-2038-D
Il.

In compliance with Rule 194.4 of the Texas Rules of Civil Procedure, please produce
responsive documents to WHYTE PLLC, 1045 Cheever Blvd., Suite 103, San Antonio, Texas

78217.

Respectfully submitted,

WHYTE PLLC

1045 Cheever Blvd., Suite 103
San Antonio, Texas 78217
Telephone: (210) 562-2888
Telecopier: (210) 562-2873
Email: mwhyte@Whytepllc.com
Email: jsaenz@whytepllc.com

:W 74 WW@

'MARC K. WHYTE /
State Bar No. 2405 6526

 

ATTORNEY FOR PLAINTIFF

\\\\\llll,,,h

\\\ ‘Q\;NTY §00'® '/, DE!G; MAY 1 7 2016

»"¢,_ I. Anuro Guajardo dr County Clerk do

* :.- g ‘) *= hereby certify thatthl
3 §§ mg correct copy
Q;//> ............ §’E lllGU ll

/,/l 0F H 19 A\,GO "`\\
"'llr¢\\\\\“

20

   
  
  

"\\\l Mllll,lll::

\\
"..\`\

 

b`@DUfy C|erk

Case 7:16-cv-OO293 Document 1-1 Filed in TXSD on 06/02/16 Page 22 of 22

. - E|ectronica||y Submitted
Accepted by. Va|erle Ortega 5/2/2016 3:53:14 pM

Hida|go County C|erks Offlce
CL-16-2038-D
STIPULATION OF DAMAGES
TO THE HONORABLE JUDGE OF 'l`HlS COURT:

SAUL CHAVEZ, hereby stipulates that the amount in controversy in the above-styled and numbered
cause does not exceed the sum or value of $74,999.00, exclusive of interest and costs. Specifically, SAUL
CHAVEZ, stipulate and agrees that the “amount in controversy” includes any and all damages, exclusive of
interest and costs, of which Plaintiff seek to recover by and through the lawsuit filed herein.

Plaintiff, SAUL CHAVEZ, understands that this stipulation will be filed with the Court and
understands that the Stipulation will bind the parties in the above-referenced lawsuit to the terms stated herein
and through their counsel hereby agrees that they will refuse to execute on the amount exceeding $74,999.00.

Lead counsel for Plaintiff, Marc K. Whyte of WHYTE PLLC, agrees to waive any award in excess
of $74,999.00.

AGREED TO BY:

WHYTE PLLC

1045 Cheever Blvd., Suite 103
San Antonio, Tean 78217

Telephone: (210) 562-2888
Telecopier: (210) 562- 2873

By 44 4 444

’MARC K. WHYTE/
State Bar No. 24056526
Email: mwhyte@whytepllc.com
ATTORNEY FOR PLAINTIFF

SUBSCRIBED AND SWORN TO BEFORE ME, on this the 2nd day of May, 2016, to certify
which witness my hand and official seal.

 

     
 
 

JENN|FER S. SAENZ
Nololy Fublic, Slole ol lexos

Mv Commlsslon Exp|res
July \7. 2019 i M{)>/}/jf\'_\

Nota Pu lic' m and ort e State of Tean

 

 

“\uz:wz;g;/,, Dafe\MAY 1 7 2016
2 | Anuro Guajard

. ‘ o Jr. County Cle

:_ nw )&; .. hereby certify that this/ ‘ . true anrci; do

_'_' _ _=corractcopyo tr tdocu

»;0;:`. ma ' »»/ ' mem

’/,l'° HD, /~jmp\\:€)<~z "\\\`
"lrlll\\\\‘

   
   
    
   

l\)

,_l

\\\|lll
\`\\ I/,l/ll

\ gm
5:\/\`.\$\ "

`\

Depufy Clerk

